Case 2:05-cr-20230-.]PI\/| Document 12 Filed 07/26/05 Page 1 of 2 Page|D 12

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UNITED sTA'rEs DIsTRICT coURT
wEsTERN DISTRICT oF TENNESSEE 05 JUL 26 PM t,: 22
Western Division

 
 
 
   
 
   

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UNITED sTATEs oF AMERICA ;vl' CGURT
'».§:'ViPHIS
-vs- Case No. 2:05cr20230-Ml

ODIE SMITH

 

ORDER OF DETENTION PEND|NG TRlAL
F|ND|NGS
ln accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(£), a detention hearing Was not
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed ata later date.

*** Arraignmeot set for Wednesday August 3, 2005 @ 10:00am in CR # M-B***
D|RECT|ONS REGARD|NG DETENTlON

ODIE SMITH is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. ODIE SMITH shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Cou.rt proceeding.

Dace: Ju1y26, 2005 Al AM`¢ z . %&WW

DIANE K. vascovo _
UNITED sTArEs MAGISTRATE JUDGE

Thls document entered fm docket sheet in compl|ance

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UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number l2 in
case 2:05-CR-20230 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

Linda Kendall Garner

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Katrina U. Earley

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

